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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

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NATHAN GAuDREAu, " 4 l ll v

Plaimirr, cAsE No.; 8'.\5 ev \3 Tz_g, -SS$
v. CLAss AchoN coMPLAINT
wELLs FARGo BANK, N.A., JURY TRIAL DEMANDED

Defendant.

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cLASS ACTIoN coMPLAlNT

Plaintiff`, Nathan Gaudreau, by and through undersigned counsel, sues Wells Fargo Bank
N.A., and states as follows:
PRELIMINARY STATEMENT
l. Plaintif`f brings this action for damages, costs, and fees pursuant to the Telephone
Consumer Collection Practices Act (“TCPA”), 47 U.S.C. § 227 et seq. and the Florida Consumer
Col|ection Practices Act (“FCCPA”), Fla. Stat. § 559.55 el seq.
JURISDICTION AND VENUEF
2. Federa| subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as Plaintiff
brings, among other claims, claims under the federal TCPA. Supplemental jurisdiction exists

over the state law claims pursuant to 28 U.S.C. § 1367.

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3. Federal jurisdiction exists pursuant to 28 U.S.C. § 1332(d)(2), thc Class Action
Fairness Act (“CAFA”), as the matter in controversy exceeds the sum of $5,000,000, exclusive
of interest and costs, and is a class action in which a member of the class of plaintiffs is a citizen
of a state different from Def`endant.

4. Venue is proper in this district pursuant to 28 U.S.C. § l39l(a) because a
substantial part of the events or omissions giving rise to the claims and injuries occurred in the
Middle District of Florida.

PARTIES

5. Plaintif`f` Nathan Gaudreau (“Gaudreau” or "Plaintiff") is a natural person who
resides in Sarasota County, Florida. Plaintif`f` is a “person,” as that term is defined by 47 U.S.C. §
227 and is a “consumer” as that term is defined by Fla. Stat. § 559.55(8).

6. Def`endant, Wells Fargo Bank, N.A. (“Wells Fargo” or “Defendant”), a national
bank, does business in the State of Florida, and is a “person” under 47 U.S.C. § 227 and as term
is used in Fla. Stat. § 559.72

7. Defendant, in the conduct of its business, uses one or more instrumentalities of
interstate commerce or the mails, including, without limitation, electronic communication, to
communicate with Plaintiff`.

8. All conduct of Def`endant was authorized, approved and/or ratified by one or more
officers, directors, or managers of Defendant, and/or they knew in advance that the Defendant
was likely to conduct itself and allowed them to so act with conscious disregard of the rights and
safety of` others. The agent(s) or employee(s) of Def`endant acted within the course and scope of
such agency or employment and acted with the consent, permission and authorization of

Defendants.

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9. The Def`endant's communications set forth below are wholly without excuse.
lO. At all times mentioned herein, the agent(s) or employee(s) of Defendant were
acting within the course and scope of such agency or employment and were acting with the

consent, permission, and authorization of Defendant.

CLASS ACTION ALLEGATlONS

ll. Plaintif`f brings this action as a class action, pursuant to Federal Rule of Civil
Procedure 23, on his own behalf and on behalf of all other similarly-situated individuals in the
United States who received any telephone call from Def`endant to their cellular telephone made
through the use of any automatic telephone dialing system or an artificial prerecorded voice,
from September 18, 2014 to the filing of` this Complaint (the “Class”). He also represents, and is
a member of a subclass (the “Revocation Subclass”) consisting of all individuals in the United
States who received any telephone call from Defendant to their cellular telephone made through
the use of any automatic telephone dialing system or an artificial prerecorded voice, and who had
revoked consent to receive such cellular telephone calls in any reasonable manner, from
September 18, 2014 to the filing of this Complaint. Further, Plaintiff also represents, and is a
member of a subclass (the “Attorney Subclass”) consisting of all individuals in Florida who
received any communication from Defendant when Def`endant knew that the individual was
represented by an attorney and had knowledge of, or could readily ascertain, such attomey's
name and address.

Numerosity

l2. The class is so numerous that joinder of all members is impracticable Plaintiff

estimates the C|ass has at least 100,000 members.

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Commonality

13. There are questions of law and fact that are common to the Class and which
predominate over questions affecting any individual Class member. Specifically, these common
questions of law and fact include, without limitation, (1) whether Defendant violated the
Telephone Consumer Protection Act, 47 U.S.C. § 227; (2) whether Defendant violated the
FCCPA, Fla. Stat. § 559.55 et seq.; and (3) whether Plaintiff and the Class were damaged, and
the extent of damages for such violation.

Typicality

14. Plaintiffs claims are typical of the claims of the Class, and Plaintiff has no

interest adverse or antagonistic to the interests of other members of the Class.
Adequacy of Class Representation

15. Plaintiff will fairly and adequately protect the interests of the Class and has

retained experienced counsel, competent in the prosecution of class action litigation.
Predomimmce of Common Questions

16. The common questions set forth in Paragraph 13 predominate over any individual

issues.
Superiority of Class Resolution

l7. A class action is superior to other methods for the fair and efficient adjudication
of the claims asserted herein, Plaintiff anticipates that no unusual difficulties are likely to be
encountered in the management of the class action.

18. A class action will permit a large number of similarly-situated persons to
prosecute their common claims in a single forum simultaneously, efficiently, and without the
duplication of effort and expense that numerous individual actions would engender.

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19. Class treatment will also permit the adjudication of relatively small claims by
many Class members who could not otherwise afford to seek legal redress for Defendant's
conduct.

20. Absent a class action, the Class members will continue to have their rights
violated and will continue to suffer monetary damages.

21. Defendant's actions are generally applicable to the entire Class and accordingly,

the relief sought is appropriate with respect to the entire Class,

FACTUAL ALLEGATIONS

22. Plaintiff Was a customer of Defendant Wells Fargo and maintained a line of credit
with that organization

23. Difficult financial times caused Plaintiff to fall behind in his payments to
Defendant.

24. Defendant then began calling Plaintiffs cellular telephone to collect the debt.

25. Plaintiff instructed Defendant to stop calling him on his cellular telephone
because he would be filing bankruptcy.

26. Plaintiff was represented by an attorney, Laurie Blanton, and provided Defendant
with Laurie Blanton's name and contact information. Defendant instructed Plaintiff that
Defendant's calls would continue and Defendant would not stop communicating with Plaintiff
until he gave Defendant a bankruptcy case number.

27. Defendant did not stop calling Plaintiff‘s cellular telephone, despite Plaintiff‘s

instructions

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28. For the calls from Defendant, either there was a pause after Plaintiff answered
before a live representative was connected to Plaintiff, or there was a pause after Plaintiff
answered and the call was immediately disconnected. These circumstances indicate the use of an
automatic telephone dialer system.

29. Defendant telephoned Plaintiff using an automatic telephone dialer system at least
once per day, after Plaintiff instructed Defendant to stop calling his cellular telephone, from

approximately May l, 20|5, until approximately June 30, 2015.

COUNT I

VIOLATION OF THE TCPA BY DEFENI)ANT WELLS FARGO

30. This is an action against Defendant for violations of the TCPA, 47 U.S.C. § 227

el seq.

3 l. Plaintiff re-alleges and reincorporates paragraphs l through 29, as if fully set forth
here-in.

32. Defendant, in the conduct of its business, used an automatic telephone dialing

system defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff`.

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33. Section 47 U.S.C. § 227(b)(l)(A)(iii) provides in pertinent part:

lt shall be unlawful for any person within the United States -

(A) to make any call (other than a call made for emergency purposes or made
with the prior express consent of the called party) using any automatic
telephone system or an artificial or prerecorded voice -

(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

34. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) when Defendant placed calls to
Plaintiffs cell phone without Plaintiff‘s express consent using an automatic telephone dialing
system.

35. Defendant willfully, knowingly, and intentionally made multiple calls to
Plaintiff‘s cell phone phone utilizing an automatic telephone dialing system after Plaintiff told
Defendant that Defendant did not have permission to call Plaintiff‘s cell phone.

36. All conditions precedent to this action have occurred, have been satisfied or have
been waived.

37. As a result of the above violation of the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,
pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B),

38. Based upon the willful, knowingly, and intentional conduct of the Defendant as
described above, Plaintiff is also entitled to an increase in the amount of the award to treble the
damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §

227(b)(3).

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WHEREFORE, Plaintiff respectfully requests this Court enter a judgment on his behalf
and on behalf of all others similarly situated, against the Defendant: (l) finding Defendant
violated the TCPA; (2) awarding Plaintiff actual damages or the amount of $500.00 in damages
for each violation, whichever is greater; (3) finding Defendant willfully, knowingly and
intentionally violated the TCPA and increasing the damages award to treble the amount of
damages otherwise to be entered as a judgment; and (4) awarding Plaintiff any and all such

further relief as is deemed necessary and appropriate

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vroLATloN oF THE FCCPA BY DEFENDANT wELLS FARGo

39. This is an action against Wells F argo for violation of Fla. Stat. § 559.55 et seq.
40. Plaintiff re-alleges and incorporates paragraphs 1 through 22, as if fully set forth
herein,
4l. Defendant communicated certain information to Plaintiffs as set forth above,
which constitutes “communication,” as defined by Fla. Stat. § 559.55(5).
42. Fla. Stat. § 559.72 provides, in pertinent part:
In collecting consumer debts, no person shall:

(7) . . . willfully engage in other conduct which can reasonably be expected to
abuse or harass the debtor or any member of her or his family.

(9) . . . assert the existence of some other legal right when such person knows
that the right does not exist.

(18) Communicate with a debtor if the person knows that the debtor is
represented by an attorney with respect to such debt and has knowledge of, or can
readily ascertain, such attomey’s name and address, unless the debtor’s attorney
fails to respond within 30 days to a communication from the person, unless the
debtor’s attorney consents to a direct communication with the debtor, or unless
the debtor initiates the communication

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43. Through its conduct, described above, Defendant, directly and through its agents,
violated the above sections of the FCCPA.

44. All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

45. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the
FCCPA, Green Tree is liable to Plaintiffs for actual damages, statutory damages, and reasonable
attorney’s fees and costs.

46. Based upon the willful, intentional, knowing, malicious, repetitive and continuous
conduct of Defendant as described herein, Plaintiffs are also entitled to an award of punitive
damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

47. Each communication, made in violation of the FCCPA is a separate justiciable
issue entitled to adjudication on its individual merits and is eligible for an award of damages,
Pursuant to Federal Rule of Civil Procedure lO(b), each violation has been consolidated into a
single count to promote clarity.

WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,
respectfully request this Court to enter a judgment against Defendant, finding that Defendant
violated the FCCPA, awarding Plaintiffs actual damages, statutory damages, punitive damages,
attomeys’ fees and costs pursuant to Fla. Stat. § 559.77(2), and awarding Plaintiffs any and all

such further relief as is deemed necessary and appropriate

DEMAND FOR JURY TRIAL

Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const.

Amend. 7 and Fed. R. Civ. P. 38.

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Dated: January 4, 2016

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/s/ Katherine Earle Yanes

 

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Respectful|y Submitted,

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VER!FICATION OF COMPLAINT AND CERTlFICATlON BY PLAINTlFF
NATHAN GAUDREAU

I, Nathan Gaudreau, pursuant to 28 U.S.C. §1746, under penalties of petjury, state as
follows:

l. l am a Plaintiff in this civil proceeding

2. I have read the above entitled civil Complaint prepared by my attorneys and l believe that
all of the facts contained in it are true, to the best of my knowledge, information and
belief formed aRer reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by existing law
or by a good faith argument for the extension, modification, or reversal of existing law.

4. I believe that this civil Complaint is not interposed for any improper purpose, such as to
harass any Defendant(s), cause tumecessary delay to any Defendant(s), or create a
needless increase in the cost of litigation to any Defendant(s), named in the Complaint.

5. I have filed this civil Complaint in good faith and solely for the purposes set forth in it.

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Nathan ah u Date'

 

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